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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr268
                                     )   Hon. Carl J. Nichols
JEFFREY McKELLOP,                    )
      Defendant.                     )
____________________________________)

                                     MOTION TO DISMISS

       Comes now Defendant Jeffrey McKellop, by counsel, and moves the Court to dismiss all

charges against Defendant for the reason that the government, in the person of the President, has

intentionally and irreparably poisoned the entire nation as a jury pool.

       On September 1st, the President addressed the nation in a prime time television address of

some 26 minutes’ duration. During the address he referred to “MAGA Republicans” more times

than undersigned could count and repeatedly attributed to them – i.e., to all supporters of former

President Trump to include, without question, every defendant charged with a felony pertinent to

the Capitol Riot of January 6th – the determination to destroy our democracy through violence.

Describing opponents of the current administration’s policies as “White Supremacists and

extremists,” as to whom “good manners are something they’ve never suffered from,” President

Biden inflamed the entire nation by assuring that “Trump and the MAGA Republicans are a clear

and present danger to our democracy.” The President’s indictment comprises everyone who

supported the former president – none more undeniably than those charged with participating in

the Capitol Riot.

       This was not an offhand theme mentioned in passing. Rather, it was the sole point of the

entire exercise, specifically intended to provoke the entire nation to hatred of the half that voted




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Republican in the last presidential election. A less than complete rendition of the President’s

screed includes:

               “Donald Trump and the MAGA Republicans represent an
               extremism that threatens the very foundations of our republic.

               “MAGA Republicans do not respect the Constitution, do not
               respect the rule of law… [they] undermine democracy itself…
               [they seek] to take this country back… [and to] fan the flames
               of political violence.

               “MAGA Republicans have made their choice. They embrace anger.

               “MAGA Republicans want to destroy our American democracy.

       Lest anyone wonder whom the President considers the most despicable,

               “They [the MAGA Republicans] look at the mob that stormed
               the Capitol not as insurrectionists who placed a dagger to the
               throat of our democracy.

       Finally, backlit in red and flanked by two unmoving Marines, the President exhorts all

Americans to put their hatred into action.

               “It’s within our power to stop the assault on American democracy.

       What better place to begin than in the jury box?

       The highest authority in the land has urged upon the entire nation a hatred of the January

6th defendants as a patriotic duty. The President demands betrayal of a juror’s oath by anyone

sitting in judgment of a January 6th defendant. The President’s demand “deprive[s] the accused

of his right to a forum where impartiality is not impaired.” United States v. Thomas, 22 M.J.

388, 393 (C.M.A. 1986).

                                                     Respectfully submitted,

                                                     JEFFREY McKELLOP
                                                     By Counsel




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                                                     _____/s/____________
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                                                     Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on September 9, 2022, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System, with consequent service on all parties

                                                     ____/s/_____________
                                                     John C. Kiyonaga




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